Case 4:20-cv-00957-SDJ   Document 699-19 Filed 12/09/24   Page 1 of 33 PageID #:
                                    35247




            EXHIBIT 17
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Case 4:20-cv-00957-SDJ                      Document 699-19 Filed 12/09/24             Page 2 of 33 PageID #:
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             Optimal Antitrust Fines:
              Theory and Practice

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Case 4:20-cv-00957-SDJ                 Document 699-19 Filed 12/09/24                                 Page 3 of 33 PageID #:
                                                  35249

  This article discusses the use of fines imposed on companies or other corporate entities to
  enforce antitrust or competition law prohibitions such as Articles 81 and 82 of the EC Treaty or
  Sections 1 and 2 of the Sherman Act. The article addresses more specifically the questions in
  what ways these fines contribute to competition law enforcement, on the basis of which factors
  the amount of antitrust fines should be fixed in theory, and whether it is feasible in practice to
  calculate or measure such optimal fines. It is argued that the imposition offines can contribute
  in three ways to the prevention of antitrust violations: through deterrent effects, through moral
  effects, and by raising the cost of setting up and running cartels. For violations committed by a
  single offender, a necessary condition for deterrence to work is that the expected fine,
  discounted for the probability of detection and punishment, exceeds the gain which the offender
  expected to obtain from the violation. Because of overconfidence bias, prospective offenders are
  likely to overestimate the gain and underestimate the probability of detection and punishment.
  Administrative costs could be saved by adopting an enforcement strategy of very high fines and
  low probability of punishment, but the possibility to impose high fines is limited by inability to
  pay, by the social and economic costs of high fines, and by requirements ofproportional justice.
   Cooperation with the competition authority's investigation should be rewarded through reduced
  fines. For collective violations, it is a sufficient but not a necessary condition for deterrence to
   work that the expected fine, discounted for the probability of detection and punishment, exceeds
  the expected gain, either for all the cartel members taken together or for each of them
  seperately. The cost of setting up and running cartels can be raised by modulating the amount of
  the fine for each cartel member depending on the active role played in the functioning of the
  cartel, as as well through a leniency policy. To avoid a deterioration of the market structure as a
   result of the imposition offines, where high fines are imposed and where there is a significant
   difference in the ability to pay of the various cartel members, the amount of the fines imposed on
  the different companies should be differentiated so as to reflect their respective ability to pay. In
  practice, it does not appear feasible to measure econometrically the theoretically optimal fine
  for a given antitrust violation. The theory on optimal fines remains however useful as general
  guidance for the practice offixing the amount of antitrust fines.




                                           TABLE OF CONTENTS

  I.   THE ROLE OF FINES IN ANTITRUST ENFORCEMENT ..................................... 5
        A.    The three tasks of competition law enforcement ............................................... 5
               1.         Clarifying the content of the prohibitions ............................................ 5
              2.          Preventing violations ........................................................................... 6
                           a.            Reducing the opportunities to commit violations ................ 7
                          b.             Reducing business people's willingness to commit
                                         violations ............................................................................. 7
                          c.             Altering the balance of expected benefits and costs
                                         of violations ........................................................................ 8
              3.          Dealing with the consequences of violations ...................................... 9
       B.     The role of fines ............................................................................................... 10
                                                                      2
Case 4:20-cv-00957-SDJ                Document 699-19 Filed 12/09/24                                  Page 4 of 33 PageID #:
                                                 35250


  II.   OPTIMAL FINES FOR SINGLE OFFENDERS ...................................................... 12
        A.    The basic logic of deterrence ........................................................................... 12
              1.          The deterrence approach as opposed to the internalization
                          approach ............................................................................................. 12
              2.          Subjective estimates of the gain, the probability of detection
                          and punishment and the amount of the fine ....................................... 15
                          a.             Availability bias ................................................................. 16
                          b.             Overconfidence bias .......................................................... 16
        B.    The trade-off between the level of fines and the probability of
              detection and punishment ................................................................................ 17
               1.         The standard economic argument and its limits ................................ 17
              2.          The limits to high fines ...................................................................... 18
                          a.             Inability to pay ................................................................... 18
                          b.             The social and economic costs of high fines ..................... 20
                          c.             Proportional justice............................................................ 20
        C.    Rewarding cooperation and efforts at compliance .......................................... 22
              1.          Cooperation with the competition authority's investigation ............. 22
              2.          Compliance programmes ................................................................... 23
  III. OPTIMAL FINES FOR COLLECTIVE VIOLATIONS .......................................... 24
        A.    Additional possibilities for using fines to prevent violations .......................... 25
              1.          Raising the cost of setting up and running cartels ............................. 25
              2.          Leniency ............................................................................................ 26
        B.    Additional aspects to consider.. ....................................................................... 27
              1.          The impact of high fines on the market structure .............................. 27
              2.          Equal treatment .................................................................................. 28
  IV. CAN THE OPTIMAL FINE BE CALCULATED IN PRACTICE? ......................... 30




                                                                     3
Case 4:20-cv-00957-SDJ             Document 699-19 Filed 12/09/24                       Page 5 of 33 PageID #:
                                              35251


           This article discusses the use of fines imposed on companies or other corporate
       entities (hereafter also: "corporate fines") to enforce antitrust or competition law
       prohibitions such as Articles 81 and 82 of the EC Treaty or Sections 1 and 2 of the
       Sherman Act. I will particularly focus on the enforcement of Articles 81 and 82 EC, 1
       not only because these prohibitions are the ones I am most familiar with, but also
       because corporate fines play a particularly important role in EU antitrust
       enforcement. 2

           The article addresses more specifically the questions in what ways corporate
       fines contribute to competition law enforcement, on the basis of which factors the
       amount of antitrust fines should be fixed in theory, and whether it is feasible in
       practice to calculate or measure such optimal fines.

          Throughout most of the article, I assume that corporate fines are the only
       sanctions used to deter antitrust violations, i.e. that they are not combined with fines
       on individuals, imprisonment or other individual sanctions, nor with private
       damages. This assumption is still broadly realistic for the existing situation in the
       EU. 3 The article does not address the question whether it would be desirable to
       combine corporate fines with such other sanctions,4 nor the question whether or how




      Article 81 EC prohibits agreements or concerted practices which restrict competition and lack
      redeeming virtue, whereas Article 82 prohibits abuse of a dominant position; see generally R. Whish,
      Competition Law (5 th ed, Lexis Nexis Butterworths, 2003).

  2   See R.H. Pate, 'Antitrust in a Transatlantic Context - From the Cicada's Perspective', address at the
      "Antitrust in a Transatlantic Context" Conference (Brussels, 7 June 2004), accessible at
      http://www.usdoi.gov/atr/public/speeches/203973.htm, at 3: "It is a fact I do not like to advertise that,
      during Commissioner Monti's tenure, the EC has surpassed the United States in terms of monetary
      penalties levied against cartelists."; see also immediately below as to the limited importance of other
      penalties or sanctions (fines on individuals, imprisonment, private damages) in the enforcement of EU
      competition law.

  3   On individual sanctions, see D. Cahill (ed.) and J.D. Cooke (General Rapporteur), The Modernisation
      of EU Competition Law Enforcement in the EU - FIDE 2004 National Reports (Cambridge UP,
      2004); on private actions for damages, see Ashurst, Study on the conditions of claims for damages in
      case     of infringement of EC competition                rules   (August 2004), accessible at
      http://europa.eu.int/comm/competition/antitrust/others/private enforcement/index en.htrnl#damages.

  4   On the question whether individual sanctions should be added, see my papers 'Does the Effective
      Enforcement of Articles 81 and 82 EC Require Not Only Fines on Undertakings, But also Individual
      Penalties, and in Particular Imprisonment?', published in C.D. Ehlermann and I. Atanasiu (eds),
      European Competition Law Annual 2001: Effective Private Enforcement of EC Antitrust Law (Hart
      Publishing 2003), 411-452, and also in my book The Optimal Enforcement of EC Antitrust Law
      (Kluwer Law International, 2002), 188-237, and 'Is Criminalization of EU Competition Law the
      Answer?' (2005) 28 World Competition 117-159, also forthcoming in K.J. Cseres, M.P. Schinkel and
      F.O.W. Vogelaar (eds), Remedies and Sanctions in Competition Policy: Economic and Legal
      Implications of the Tendency to Criminalize Antitrust Enforcement in the EU Member States (Edward
      Elgar, 2005); on the question whether private actions for damages should be encouraged in Europe, see
      my article 'Should Private Antitrust Enforcement Be Encouraged in Europe?' (2003) 26 World
      Competition 473, reprinted in my book Principles of European Antitrust Enforcement (Hart
      Publishing, 2005), 111-127.

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Case 4:20-cv-00957-SDJ              Document 699-19 Filed 12/09/24                      Page 6 of 33 PageID #:
                                               35252


        the presence of these other sanctions should affect the fixing of the amount of fines
        on compames.

            I also assume throughout the article that fines are imposed in only one
        jurisdiction. The article does therefore not deal with any questions related to the
        simultaneous or successive imposition of fines in different jurisdictions. 5



  I.       THE ROLE OF FINES IN ANTITRUST ENFORCEMENT



       A. The three tasks of competition law enforcement


           Considered broadly, 6 the enforcement of antitrust prohibitions such as Articles
        81 and 82 EC could be said to entail three tasks: (1) clarifying the content of the
        prohibitions, (2) preventing violations of these prohibitions, and (3) dealing with the
        consequences when violations have nevertheless happened.


       1. Clarifying the content of the prohibitions


           The first task of antitrust enforcement is to clarify the content of the antitrust
        prohibitions. Indeed, Articles 81 and 82 EC, like Sections 1 and 2 of the Sherman
        Act, only contain generally worded standards.7 Their content is clarified through




  5    On the relevance of fines imposed in the US for the imposition of fines in the EU, see the judgments of
       the EC Court of First Instance of 9 July 2003 in Case T-224/00 Archer Daniels Midland v Commission
       [2003) ECR 11-2597, paragraphs 85 to 103, and of 29 April 2004 in Joined Cases T-236/01 a.o., Tokai
       Carbon       a.o.      v    Commission,       not   yet    published   in     ECR,      accessible   at
       http://curia.eu.int/fr/content/juris/index form.htm, paragraphs 130 to 155 and 195 to 204. On the
       imposition of fines by several competition authorities or courts within the EU, see my article 'The
       Principle of Ne Bis in Idem in EC Antitrust Enforcement: A Legal and Economic Analysis' (2003) 26
       World Competition 131, and chapters 1, sections 1.2.5 and 1.2.6, and 3 of Principles of European
       Antitrust Enforcement, as note 4 above.

  6    In this broad sense, 'enforcement' of Articles 81 and 82 EC covers the whole of the 'implementation'
       of these provisions, the latter being the term used in the title of Council Regulation (EC) No 1/2003 of
       16 December 2002 on the implementation of the rules on competition laid down in Articles 81 and 82
       of the Treaty [2003] OJ Ll/1, the basic regulation laying down the rules on the enforcement of Articles
       81 and 82 EC.

  7    On the economics of rules versus standards, see generally I. Ehrlich and R.A. Posner, 'An Economic
       Analysis of Legal Rulemaking' (1974) 3 Journal of Legal Studies 257 and L. Kaplow, 'Rules versus
       Standards' (1992) 42 Duke Law Journal 557.

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Case 4:20-cv-00957-SDJ             Document 699-19 Filed 12/09/24                       Page 7 of 33 PageID #:
                                              35253

       judgments or decisions in individual cases, 8 as well as through guidelines issued by
       the competition authorities. 9 This also allows the content of the prohibitions to
       evolve over time, following the development of economic theory, 10 and the
       fluctuations of political or societal preferences as to the bounds of legitimate private
       and public power. 11


       2. Preventing violations


            The second and central task of antitrust enforcement is to prevent violations of
        the antitrust prohibitions. To see the different ways in which one could try to prevent
        violations from occurring, one could start by asking under what conditions
        companies, or the individuals taking the decision within the companies, are likely to
        commit antitrust violations. 12 The first condition is that they need an opportunity to
        commit a violation. Secondly, they need to be willing to commit a violation.
        Corporate managers are not necessarily just maximizers of profits for themselves
        and their principals. They may feel a moral responsibility to live within the law
        whether or not they are likely to be caught, and this normative commitment could
        trump their interest calculus. 13 Indeed, psychological research suggests that
        normative commitment is generally an important factor explaining compliance with
        the law. 14 Thirdly, the companies or individual decision-makers need incentives to
        commit violations, in that the expected benefits to them of the violations exceed the
        expected costs. One could thus try to prevent antitrust violations by influencing any
        of these three conditions.




  8    For examples of such judgments and decisions clarifying the content of Articles 82 and 81 EC, see:
       Judgment of the EC Court of Justice of 26 November 1998 in Case C-7/97 Bronner v Mediaprint
       [1998] ECR 1-7817, and Decision 98/531/EC of the European Commission of 11 March 1998 in Case
       IV/34.073 Van den Bergh Foods, [1998] OJ L246/1 and Judgment of the EC Court of First Instance of
       23 October 2003 in Case T-65/98 Van den Bergh Foods v Commission, [2003] ECR 11-4653; see also
       Article 10 of Regulation No 1/2003, as note 6 above, and European Commission Notice on informal
       guidance relating to novel questions concerning Articles 81 and 82 of the EC Treaty that arise in
       individual cases (guidance letters), [2004] OJ ClOl/78.

  9    See for instance the European Commission's Guidelines on vertical restraints, [2000] OJ C291/1, and
       Guidelines on the applicability of Article 81 EC to horizontal co-operation agreements, [2001] OJ
       C3/2.

  10   A good example is the evolution of economic thought on predatory pricing; see United States v AMR
       Corporation, 335 F.3d 1109 (10 th Cir.) (2003).

  11   See G. Amato, Antitrust and the Bounds of Power (Hart 1997).

  12   See The Optimal Enforcement of EC Antitrust Law, as note 4 above, section 8.2.

  13   C.D. Stone, 'Sentencing the corporation' (1991) 71 Boston University Law Review 383 at 389.

  14   See T.R. Tyler, Why People Obey the Law (Yale University Press 1990).

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Case 4:20-cv-00957-SDJ             Document 699-19 Filed 12/09/24                    Page 8 of 33 PageID #:
                                              35254


       a. Reducing the opportunities to commit violations


            First, one could try to reduce the opportunities to commit violations. This can be
        done through anticipatory (ex ante) intervention. Under the EC Merger Regulation, 15
        the prohibition of concentrations which significantly impede effective competition is
        enforced through a system of mandatory prior notification and authorisation. 16 Most
        jurisdictions have similar ex ante enforcement mechanisms for mergers. 17 Before 1
        May 2004, a (half-hearted) system of prior notification also existed for Article 81
        EC, but this proved unworkable and has therefore been abolished by Regulation No
         1/2003. 18 Injunctions, ordering impending or on-going violations to be stopped, are
        also a form of anticipatory intervention. 19

       b. Reducing business people's willingness to commit violations


            Secondly, one could try to prevent antitrust violations by reducing business
        people's willingness to commit violations, through a strengthening of their
                                                                °
        normative commitment to the antitrust rules. 2 Competition authorities could try to
        do this through competition advocacy. The imposition of punishment for violations




  15   Council Regulation (EC) No 139/2004 of 20 January 2004 on the control of concentrations between
       undertakings (the EC Merger Regulation), [2004] OJ L24/l.

  16 Legally speaking, the EC Merger Regulation does not contain a prohibition of concentrations which
     significantly impede effective competition. It rather contains an obligation to notify proposed
     concentrations and a prohibition to put them into effect before the notification, during the Commission
     procedure and thereafter if the procedure results in a decision finding that the concentration will
     significantly impede effective competition. These obligations are the reflection of the choice of an
     enforcement system based on mandatory prior notification and advance clearance, to enforce the
     underlying substantive prohibition of concentrations which significantly impede effective competition.

  17   On the economics of ex ante versus ex post enforcement, see The Optimal Enforcement of EC Antitrust
       law, as note 4 above, chapter 5 and section 6.2.2.

  18   See chapter 1 of Principles of European Antitrust Enforcement, as note 4 above. Prohibitions such as
       Articles 81 and 82 are by their nature unsuited for ex ante enforcement, because of the very high
       number of agreements and business decisions the legality of which would have to be checked, and
       because of the ease of concealing violations; see chapter 5 and section 6.2.2 of The Optimal
       Enforcement of EC Antitrust Law, as note 4 above.

  19   See note 28 below.

  20   See generally K.G. Dau-Schmidt, 'An Economic Analysis of the Criminal Law as a Preference-Shaping
       Policy' (1990) Duke law Journal 1, C.R. Sunstein, 'On the Expressive Function of the Law' (1996)
       144 University of Pennsylvania Law Review 2021, D.M. Kahan, 'Social Influence, Social Meaning,
       and Deterrence' (1997) 83 Virginia Law Review 349, N.K. Katyal, 'Deterrence's Difficulty' (1997) 95
       Michigan Law Review 2385, G.E. Lynch, 'The Role of Criminal Law in Policing Corporate
       Misconduct' (1997) 60 Law and Contemporary Problems 23, D.M. Kahan, 'Social Meaning and the
       Economic Analysis of Crime' (1998) 27 Journal of Legal Studies 609, and K.G. Dau-Schmidt,
       'Preference shaping by the law', in P. Newman (ed.), The New Pa/grave Dictionary of Economics and
       the Law (Macmillan 1998) 84.

                                                            7
Case 4:20-cv-00957-SDJ              Document 699-19 Filed 12/09/24                   Page 9 of 33 PageID #:
                                               35255

        also plays an important role. Indeed, the public punishment of those who violate the
        antitrust prohibitions not only has a deterrent effect, in that it helps creating a
        credible threat of punishment for those who would be willing to commit violations
        on the basis of a profit calculation, 21 but also has moral effects, in that it sends a
        message to the spontaneously law-abiding, reinforcing their moral commitment to
        the rules. 22

       c. Altering the balance of expected benefits and costs of violations


            Thirdly, one can try to prevent antitrust violations by altering the balance of
        expected benefits and expected costs of violations. This can be done by prosecuting
        and punishing violations, creating a credible threat of penalties which weighs
        sufficiently in the balance of expected costs and benefits so as to deter calculating
        companies from committing antitrust violations. Apart from such deterrence, other
        methods could also be used to alter the balance of expected costs and benefits. To be
        successful from the cartelists' perspective, price-fixing or similar cartel agreements
        require effort to determine the agreed price or other factors, to allocate the joint
        profit through quotas or otherwise, and to monitor and punish cheating by the cartel
        members. 23 Antitrust enforcement can increase the cost of setting up and running
        cartels in different ways. One very important measure is to make cartel agreements
        legally unenforceable, as Article 81(2) EC does. As will be explained further in this
        article, 24 the cost of setting up and running cartels can also be increased through
        leniency policies and through the use of other aggravating or attenuating
        circumstances affecting the amount of the penalty imposed on those violations
        which are detected and punished. Finally, the possible use of injunctions to stop
        continuation of violations which are detected when still on-going also has an impact
        on the expected benefits ofviolations. 25




  21   See below, text following note 22.

  22   See J. Adenaes, 'The Moral or Educative Influence of Criminal Law' (1971) 27 Journal of Social
       Issues 17, and 'General prevention revisited: research and policy implications' (1975) 66 Journal of
       Criminal law & Criminology 338, at 341-343, G.E. Lynch, as note 20 above, at 46-47, and the other
       literature referred to in note 20 above.

  23   See G.S. Stigler, 'A Theory of Oligopoly' (1964) 72 Journal of Political Economy 44, D.K. Osborne,
       'Cartel Problems' (1976) 66 American Economic Review 835, and W. Kolasky, 'Criminalizing Cartel
       Activity: Lessons from the U.S. Experience', address at the Fifth Lunch Talk of the Global
       Competition        Centre     (Brussels,      29      September        2004),    accessible     at
       http://www.gclc.coleurop.be/lunchtalk20040929 .htm, at 14-15.

  24   See below, text accompanied by notes 88 to 93.

  25   See note 28 below.

                                                           8
Case 4:20-cv-00957-SDJ             Document 699-19 Filed 12/09/24                     Page 10 of 33 PageID #:
                                               35256


        3. Dealing with the consequences of violations


             Attempts to prevent violations of antitrust prohibitions such as Articles 81 and
         82 EC are unlikely ever to lead to the total elimination of all violations. The reasons
         for this are both economic and psychological.

             The economic reason is that the enforcement measures to prevent violations are
         normally not without cost. The detection, prosecution and punishment of violations
         has a significant administrative cost, which includes both the cost borne by the
         public sector (cost of competition authorities, prosecutors and courts) and the cost
         borne by the businesses and individuals concerned (cost of lawyers and experts,
         management time). Apart from administrative costs, the pursuit of deterrence could
         also have undesirable side-effects. For instance, errors or the risk of errors in the
         imposition of sanctions could lead to lawful and economically desirable conduct
         being deterred. Given the existence of these costs, it is unlikely to be optimal to
         pursue full prevention of antitrust violations. Depending on the one hand on the cost
         of achieving different degrees of prevention, and on the other hand on how much
         value society attaches to the avoidance of antitrust violations, the optimum will be to
         pursue a certain degree of prevention, which in all likelihood well be less than 100
         %.26


             The psychological reason, which is further explained below,27 is that, in the
         probability estimates they make, people tend to rely disproportionately on those
         incidents which can easily be brought to mind. This implies that, even if the
         competition authorities managed at some point in time to detect so many violations
         and to impose such high fines that all companies will be deterred from committing
         new violations, this situation will not last, as over time the memory of those
         successful prosecutions will fade, and violations will thus again be committed.

            If it is thus unrealistic to achieve total prevention of all violations of the antitrust
         prohibitions, there can be a further task for antitrust enforcement in dealing with the
         consequences of violations that have taken place.

             In cases where the anticompetitive harm caused by the violation is still
         unfolding, it may be possible to limit or mitigate the harm through the use of
         injunctions. 28




   26   See generally, with regard to deterrence, G.J. Stigler, 'The Optimum Enforcement of Laws' (1970) 78
        Journal of Political Economy 526 and K.G. Elzinga and W. Breit, The Antitrust Penalties: A Study in
        Law and Economics (Yale UP 1976) at 9-15.

   27   Text accompanied by notes 56 and 57.

   28   As indicated above (text accompanied by notes 19 and 25), injunctions can also be an instrument of ex
        ante prevention, and their possible use may also effect the expected benefits of contemplated
        infringements.

                                                             9
Case 4:20-cv-00957-SDJ                Document 699-19 Filed 12/09/24                        Page 11 of 33 PageID #:
                                                  35257


            Even if the harm has fully unfolded, there could still be a task for antitrust
        enforcement in the pursuit of corrective justice. Two (partly overlapping) aspects
        could be distinguished. First, corrective justice could be pursued through
        disgorgement, by taking from the antitrust violator any benefits from the violation. 29
        Secondly, corrective justice could be pursued through compensation, by making the
        party which wrongfully committed the violation compensate other parties who
        innocently suffered the consequences of the violation. 30

            If one takes the view that the sole goal of antitrust is to enhance total economic
        efficiency, 31 the pursuit of corrective justice is by assumption a waste of resources.
        However, if one considers that antitrust is, at least in part, concerned with avoiding
        wealth transfers from consumers to firms with market power, as I do and I believe
        most people do, 32 the pursuit of corrective justice through compensation can be a
        legitimate task for antitrust enforcement. The pursuit of this goal, like the pursuit of
        the goal of preventing antitrust violations, is of course again not without cost. 33 How
        much compensation is worth the cost of obtaining it depends on the one hand on
        how high the cost is, and on the other hand on how much value society attaches to
        the pursuit of corrective justice through compensation in this area. 34



       B. The role of fines


            With regard to the first task of clarifying the content of the antitrust prohibitions,
        fines do not appear to play a significant role. 35




  29   See US Federal Trade Commission, Policy Statement on Monetary Equitable Remedies in Competition
       Cases (25 July 2003), accessible at http://www.ftc.gov/os/2003/07/disgorgementfm.htm.

  30   See K. Roach and M.J. Trebilcock, 'Private Enforcement of Competition Laws' (1996) 34 Osgoode
       Hall Law Journal 461, at 496.

  31   See below, text accompanied by note 44.

  32   See below, text accompanied by note 45.

  33   See above, text accompanied by note 26.

  34   In my article 'Should Private Antitrust Enforcement Be Encouraged in Europe?', as note 4 above, I
       have argued, at 486-488, that, because there does not appear to be a clear social need, and because
       truly achieving corrective justice in the antitrust context is in practice a very difficult task, an increased
       focus of EC antitrust enforcement on compensation may be difficult to justify.

  35   Indeed, in those cases where a competition authority would take a decision or bring a prosecution so as
       to clarify that a certain behaviour, the illegality of which was previously not clear, violates the antitrust
       prohibitions, the imposition of a fine would legally not be possible. In the case of fines imposed by the
       European Commission for violation of Articles 81 or 82 EC, the 'intent or negligence' required by
       Article 23(2) of Regulation No 1/2003, as note 6 above, would be lacking; see also Judgment of the EC
       Court of First Instance of 30 September 2003 in Joined Cases T-191/98 etc. Atlantic Container Line
       and Others v Commission [2003] ECR 11-3275, paragraphs 1611 to 1633, and European Commission
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Case 4:20-cv-00957-SDJ               Document 699-19 Filed 12/09/24                      Page 12 of 33 PageID #:
                                                 35258


             Fines are however an important instrument in the prevention of violations. As
         already indicated,3 6 the imposition of fines on companies that are found to have
         breached the antitrust prohibitions could in three ways contribute to preventing such
         violations. First, it may have a deterrent effect, by creating a credible threat of being
         prosecuted and fined which weighs sufficiently in the balance of expected costs and
         benefits to deter calculating companies from committing antitrust violations.
         Secondly, it may at the same time have a moral effect, in that it sends a message to
         the spontaneously law-abiding, reinforcing their moral commitment to the antitrust
         prohibitions. Thirdly, through leniency policies and through the use of other
         aggravating or attenuating circumstances affecting the amount of the fine imposed,
         the cost of setting up and running cartels can be raised. These different effects will
         be analysed in more detail below. 37

             Finally, whereas fines will normally have disgorgement of the unjust enrichment
         as one of their effects, 38 the proceeds of fines normally go to into the public budget
         rather than to the victims of the antitrust violations, and fines could thus at most be
         said to contribute to the pursuit of corrective justice through compensation in an
         abstract and indirect way. 39




        Decision of 24 June 2004 in Case COMP/38.549 Belgian Architects' Association, [2005] OJ L4/10,
        full text accessible at http://europa.eu.int/comrn/competition/antitrust/cases/, paragraph 137. As
        explained in Section 2.4.1.3 of The Optimal Enforcement of EC Antitrust Law, as note 4 above,
        requiring intent or negligence also makes perfect economic sense. Fining companies for conduct they
        cannot avoid at reasonable cost will have no deterrent effect, while it may generate wasteful expense.

   36   See above, text accompanied by notes 20 to 24.

   37 Corporate fines are of course not unique in having these effects, which may also, and maybe even
        better, be obtained through or in combination with other types of penalties; see note 4 above.

   38 Indeed, as explained below (text accompanying note 41), in order to deter, fines must exceed the
        expected gain from the violation, multiplied by the inverse of the probability that a fine will be
        imposed. Fines thus set will therefore normally exceed the unjust enrichment, and will thus
        automatically have disgorgement as one of their effects.

   39   See however Decision 2003/675/EC of the European Commission of 30 October 2002 in Case
        COMP/35.587 Nintendo, [2003] OJ L255/33, paragraphs 440 and 441, granting a reduction of the fine
        imposed on Nintendo for a violation of Article 81 EC in recognition of the fact that it had "offered
        substantial financial compensation to third parties identified in the Statement of Objections as having
        suffered financial harm as a result of [Nintendo's violation]"; according to A. Van Haasteren and M.
        Pefia Castellot, 'Commission fines Nintendo and seven of its European distributors for colluding to
        prevent parallel trade in Nintendo products', EC Competition Policy Newsletter (Spring 2003),
        accessible at http://europa.eu.int/comm/competition/publications/cpn/cpn2003 1.pdf, 50, at 53, "the
        reduction was lower than the actual amount paid" to the third parties; see also US Department of
        Justice,         Corporate          Leniency         Policy          (2003),        accessible          at
        http://www.usdoj.gov/atr/public/guidelines/0091.pdf, which mentions, under A.5 and B.6, as a
        requirement for leniency that "[w]here possible, the corporation makes restitution to injured parties".

                                                               11
Case 4:20-cv-00957-SDJ               Document 699-19 Filed 12/09/24                      Page 13 of 33 PageID #:
                                                 35259


   II.       OPTIMAL FINES FOR SINGLE OFFENDERS

              In order to examine on the basis of which factors the amount of fines should be
          fixed, it may be useful to concentrate first on the relatively simple case of fines for
          antitrust violations committed by a single offender, such as abuses of a dominant
          position within the meaning of Article 82 EC committed by a single dominant
          company. The case of fines for collective violations, such as price-fixing or market-
          sharing cartels, will be examined afterwards.



         A. The basic logic of deterrence


              The idea of deterrence is to create a credible threat of penalties which weighs
          sufficiently in the balance of expected costs and benefits to deter calculating
          companies from committing antitrust violations. Deterrence through the use of fines
          will work if, and only if, from the perspective of the company contemplating
          whether or not to commit a violation, the expected fine exceeds the expected gain
          from the violation. The expected fine equals the nominal amount of the fine
          discounted by the probability that a fine is effectively imposed. Certain types of
          violations are more easily detectable than others. Some companies may also be
          better in avoiding apprehension than others, possibly because they are more
          experienced. 40 The probability of actually being fined obviously also depends on the
          competition authorities' enforcement priorities and their available resources. If, for
          instance, the probability of detection and punishment is one out of five, the expected
          fine is only one fifth of the nominal amount. In order to deter, the nominal amount
          of the fine must then be at least five times larger than the expected gain. The
          minimum fine for deterrence to work thus equals the expected gain from the
          violation multiplied by the inverse of the probability of a fine being effectively
          imposed. 41


         1. The deterrence approach as opposed to the internalization approach


              Under the deterrence approach set out just above, the optimal fine should exceed
          the expected gain from the violation multiplied by the inverse of the probability of a
          fine being effectively imposed, so as to eliminate all violations. 42 A different



   4 o See L.A. Bebchuk and L. Kaplow, 'Optimal Sanctions and Differences in Individuals' Likelihood of
         Avoiding Detection' (1993) 13 International Review of Law and Economics 217.

   41
         Interest should also be added to the fine to cover the delay between the point in time at which the gain
         was (expected to be) obtained and the point in time at which the fine is paid.

   42
         See however above (text accompanied by notes 26 and 27) as to the economic and psychological
         reasons why deterrence is unlikely ever to be complete.

                                                               12
Case 4:20-cv-00957-SDJ              Document 699-19 Filed 12/09/24                     Page 14 of 33 PageID #:
                                                35260

         approach has been advocated by Gary Becker and by William Landes. 43 Under their
         internalization approach, the optimal fine equals the net harm caused to persons
         other than the offender, again multiplied by the inverse of the probability of a fine
         being effectively imposed. The optimal fine thus set makes the offender internalize
         all the costs and benefits of the violation, thus leading the offender to commit the
         'efficient violations' whose total benefits exceed the total costs while deterring
         'inefficient violations' whose total costs exceed the total benefits.

             The difference between the deterrence approach and the internalization approach
         to antitrust fines mainly reflects, I believe, a difference in views about the primary
         goal of the antitrust prohibitions.

             The internalization approach to antitrust fines fits the Chicago School view that
         the primary goal of the antitrust prohibitions is to maximize total economic welfare
         or total economic efficiency, i.e. the sum of the economic welfare of both buyers and
         sellers (consumers and producers). 44 If one adheres to this view about the primary
         purpose of antitrust, one would logically also embrace the internalization approach
         to antitrust fines, as it ensures that the welfare of antitrust violators and that of their
         victims are given equal weight.

             The internalization approach to antitrust fines appears however unsuited if one
         has a different or broader view about the primary purpose of antitrust, as I do and I
         believe most people do. If one takes the view that the primary goal of the antitrust
         prohibitions is to prevent extractions of consumers' wealth by firms with market
         power, i.e. to prevent wealth transfers from consumers to producers, 45 one would
         naturally opt for the deterrence approach to antitrust fines, as it aims at deterring all
         antitrust violations, irrespective of whether the offender's gain exceeds the harm
         caused to consumers. If one considers that the primary goal of the antitrust




   43   G.S. Becker, 'Crime and Punishment: An Economic Approach' (1968) 76 Journal of Political
        Economy 169 and W.M. Landes, 'Optimal Sanctions for Antitrust Violations' (1983) 50 The
        University of Chicago Law Review 652.

   44   As has been pointed out by R.H. Lande, 'Chicago's False Foundation: Wealth Transfers (Not Just
        Efficiency) Should Guide Antitrust' (1989) 58 Antitrust Law Journal 631, at 638, this view has been
        somewhat deceptively presented in terms of maximizing 'consumer welfare', a term which rather
        corresponds to the view, mentioned just below, that the primary goal of antitrust is to prevent wealth
        transfers from consumers to producers. For a recent example of this confusing use of the term
        'consumer welfare' see K.N. Hylton, Antitrust Law - Economic Theory and Common Law Practice
        (Cambridge UP, 2003), at 43-44.

   45   See R.H. Lande, 'Wealth Transfers as the Original and Primary Concern of Antitrust: The Efficiency
        Interpretation Challenged' (1982) 34 Hastings Law Journal 67, and 'Chicago's False Foundation', as
        note 44 above; see also the European Commission's Guidelines on the application of Article 81(3) of
        the [EC] Treaty, [2004] OJ ClOl/97, at paragraph 43: "Negative effects on consumers in one
        geographical market or product market cannot normally be balanced against and compensated by
        positive effects for consumers in another unrelated geographic market or product market", such
        compensation only being possible "provided that the group of consumers affected by the restriction and
        benefitting from the efficiency gains are substantially the same".

                                                             13
Case 4:20-cv-00957-SDJ              Document 699-19 Filed 12/09/24                       Page 15 of 33 PageID #:
                                                35261


         prohibitions is more broadly to protect consumer choice or consumer sovereignty,46
         or to preserve competitive structure and open market values, 47 the deterrence
         approach to fines would similarly be indicated.

             The difference between the deterrence approach and the internalization approach
         to antitrust fines also reflects a difference in views as to the degree of moral
         condemnation to be attached to antitrust violations. Borrowing terms used by Robert
         Cooter and by John Coffee, 48 the internalization approach merely seeks to 'price'
         antitrust violations, whereas the deterrence approach seeks to 'sanction' or 'prohibit'
         such violations. Under the deterrence approach, the antitrust fine is 'a sanction for
         doing what is forbidden', whereas it is 'the price of doing what is permitted' under
         the internalization approach.

             The difference between the deterrence approach and the internalization approach
         to antitrust fines does not only reflect philosophical differences as to the primary
         goal of the antitrust prohibitions and the degree of moral condemnation to be
         attached to antitrust violations. It also makes a practical difference for the
         administrative cost and the effectiveness of antitrust enforcement.

             First, the internalization approach appears more difficult to apply in practice. 49
         Indeed, to determine the optimal fine in a concrete case, one has to quantify the
         harm to parties other than the offender, which includes not only the monopoly
         transfer but also the portion of the deadweight loss borne by consumers, 50 as well as
         the probability of a fine being imposed. These factors are very hard to quantify in



   46   See R.H. Lande, 'Consumer Choice as the Ultimate Goal of Antitrust' (2001) 62 University of
        Pittsburgh Law Review 503 and N.W. Averitt and R.H. Lande, 'Consumer Sovereignty: A Unified
        Theory of Antitrust and Consumer Protection Law' (1997) 65 Antitrust Law Journal 713.

   47   See E.M. Fox, 'What is Harm to Competition? Exclusionary Practices and Anticompetitive Effect'
        (2002) 70 Antitrust Law Journal 371; see also Judgment of the Court of Justice of 21 February 1973 in
        Case 6/72 Europemballage and Continental Can v Commission [1973] 215, paragraph 26: "[Article 82
        EC] is not only aimed at practices which may cause damage to consumers directly, but also at those
        which are detrimental to them through their impact on an effective competition structure"; Order of the
        President of the Court of Justice of 11 April 2002 in Case C-481/01 P(R), NDC Health v Commission
        [2002] ECR 1-3401, paragraph 84: "the reasoning [ ... ] cannot be accepted without reservation, in so
        far as it could be understood as excluding protection of the interests of competing undertakings from
        the aim pursued by Article 82 EC, even though such interests cannot be separated from the
        maintenance of an effective competition structure"; and Judgment of the EC Court of First Instance of
        17 December 2003 in Case T-219/99 British Airways v Commission, not yet published in ECR,
        accessible at http://curia.eu.int/fr/content/juris/index form.htm, paragraph 311: "Article 82 is aimed at
        penalising even an objective detriment to the structure of competition itself'.

   48   R. Cooter, 'Prices and Sanctions' (1984) 84 Columbia Law Review 1523 and J.C. Coffee, 'Paradigms
        Lost: The Blurring of the Criminal and Civil Law Models -And What Can Be Done About It' (1992)
        101 Yale Law Journal 1875.

   49   See also E. David, Les sanctions des pratiques anticoncurrentielles en droit compare, Doctoral
        Dissertation (Universite Robert Schuman, Strasbourg III, 10 December 2004), paragraph 1732.

   so   See W.M. Landes, above note 43, and K.N. Hylton, above note 44, at 44-45.

                                                               14
Case 4:20-cv-00957-SDJ                Document 699-19 Filed 12/09/24                 Page 16 of 33 PageID #:
                                                  35262


        practice,51 which means that the imposition of fines will be administratively costly
        and/or that errors will be made, which will weaken deterrence. On the other hand,
        the deterrence approach also requires some quantification of the expected gain and
        of the probability of a fine being imposed, but the need for precision is much lower,
        because it is only required that the fine exceeds the expected gain discounted by the
        probability of a fine being imposed. 52

            Secondly, the deterrence approach also appears more effective because the
        imposition of fines under this approach is likely to have stronger moral effects. As
        explained above, 53 the imposition of punishment for antitrust violations has not only
        a deterrent effect, in that it helps creating a credible threat of punishment for those
        who would be willing to commit violations on the basis of a profit calculation, but
        also has a moral effect, in that it sends a message to the spontaneously law-abiding,
        reinforcing their moral commitment to the rules. This moral effect is weakened, or
        even eliminated, under the internalization approach, because the antitrust fine is not
        presented as 'a sanction for doing what is forbidden' but rather as the 'price for
        doing what is permitted'.54

            For all these reasons, the deterrence approach appears to me the better one, and I
        will thus primarily focus on this approach in the remainder of this article. 55


       2. Subjective estimates of the gain, the probability of detection and punishment and
          the amount of the fine


            For deterrence to work, it is required that, from the perspective of the company
        (or the individual decision-maker deciding for the company) contemplating a
        possible antitrust violation, the expected fine exceeds the expected gain. What thus
        counts is the potential offender's subjective estimate of the gain, of the probability
        of detection and punishment, and of the amount of the fine in case of detection and
        punishment. These subjective estimates are not necessarily accurate. Indeed,
        cognitive psychology suggests two reasons why this may not be the case.




  51 See below, text accompanied by note 107.

  52 See however below (text accompanied by notes 66 to 80) as the limits on very high fines.

  53 Text accompanied by notes 13 to 14 and 20 to 22.

  54   See above text accompanied by note 48.

  55 See however notes 61 and 83 and text accompanied by note 107 below, where the internalization
       approach is also considered.

                                                           15
Case 4:20-cv-00957-SDJ             Document 699-19 Filed 12/09/24                    Page 17 of 33 PageID #:
                                               35263


        a. Availability bias


             To predict accurately the probability of detection and punishment, and the
         amount of the fine, potential offenders would have to consider all existing
         information about the probability of detection and the amount of fines in general,
         and adjust the statistical probability thus derived with any particularized information
         about their specific situation. In practice, people tend to rely disproportionately on
         those incidents which can easily be brought to mind, because they are recent,
         happened close to them, or were well publicized. 56

             This phenomenon has several implications for the use of fines to deter antitrust
         violations. First, it confirms the importance for competition authorities to give
         maximum publicity to the cases in which they successfully discover and punish
         violations, in particular the cases with the highest fines. 57 Secondly, it implies that it
         will never be possible to achieve complete deterrence. Indeed, even if the
         competition authorities managed at some point in time to detect so many violations
         and to impose such high fines that all companies will be deterred from committing
         new violations, this situation will not last, as over time the memory of those
         successful prosecutions will fade, and violations will thus again be committed. 58
         Thirdly, for the same reason, it also implies that the fact that violations are still
         discovered does not necessarily justify the conclusion that the level of the fines
         imposed in the past was insufficient and should thus be raised.

        b. Overconfidence bias


             It appears that people consistently tend to overestimate the probability of good
         things happening to them, and underestimate the probability of bad things happening
         to them, in particular when the event in question is perceived to be controllable. 59

             Applied to deterrence through antitrust fines, this suggests that companies and
         individual decision-makers within them will tend to overestimate the gain from the




   56   See R.B. Korobkin and T.S. Ulen, 'Law and Behavioral Science: Removing the Rationality
        Assumption from Law and Economics' (2000) 88 California Law Review 1051, at 1085-1090 and A.
        Tversky and D. Kahneman, 'Availability: A Heuristic for Judging Frequency and Probability', in D.
        Kahneman, P. Slovic and A. Tversky (eds), Judgment under Uncertainty: Heuristics and Biases
        (Cambridge UP, 1982), 163.

   57   Such publicity is also desirable because of the moral effects of punishment; see text accompanied by
        notes 13 to 14 and 20 to 22 above; see however text accompanied by notes 72 to 80 below as to the
        requirements of proportional justice.

   58   See text accompanied by note 27 above.

   59   See N.D. Weinstein, 'Optimistic Biases About Personal Risks' (1989) 246 Science 1232 and R.B.
        Korobkin and T.S. Ulen, above note 56, at 1091-1095.

                                                            16
Case 4:20-cv-00957-SDJ             Document 699-19 Filed 12/09/24                    Page 18 of 33 PageID #:
                                               35264


         antitrust violation and to underestimate the probability of being caught. 60 Ex post
         estimates of the gain obtained from the violation will thus tend to be systematically
         below the ex ante expectations of potential offenders, and ex post estimates of the
         probability of a fine being imposed will systematically tend to exceed the probability
         as perceived ex ante by potential offenders. If fines are calculated on the basis of ex
         post estimates of gain and probability, they will thus systematically tend to be too
         low to deter, unless an upward adjustment is made to counter this effect. 61



        B. The trade-off between the level of fines and the probability of detection and
           punishment



        1. The standard economic argument and its limits


             Given that deterrence requires that, from the perspective of the company
         contemplating whether or not to commit a violation, the expected fine exceeds the
         expected gain from the viqlation, and given that the expected fine equals the
         nominal amount of the fine discounted by the probability that a fine is effectively
         imposed, deterrence can be achieved through different combinations of the level of
         fines and of the probability of detection and punishment. The same result could be
         achieved either with very high fines and a low probability of such fines being
         imposed, or with lower fines and a high probability of detection and punishment.

             Given that the detection and punishment of antitrust violations has a significant
         administrative cost, including not only the cost borne by the competition authorities
         and courts but also the costs borne by the companies concerned (cost of lawyers and
         other experts, as well as lost management time), basic economic reasoning would
         plead for a strategy of very high fines which are only rarely imposed. 62

             There are however two (sets of) reasons why this strategy may not be optimal, or
         could at least not be carried too far. The first possible reason relates to the
         availability bias discussed above. 63 If companies or individual decision-makers are
         biased in their estimates of the probability of detection and punishment and of the
         amount of the fine in that they rely disproportionately on those incidents which can




   60   See also M.L. Denger, 'Too Much or Too Little', American Bar Association, Section of Antitrust Law,
        Antitrust Remedies Forum, accessible at http://www.abanet.org/antitrust/remedies, at 5: 'most cartel
        participants don't think they will get caught'.

   61   See text accompanied by note 108 below. It should be noted that the same problem arises under the
        internalization approach; see text accompanied by notes 44 to 55 above.

   62   See G. Becker, as note 43 above.

   63   Text accompanied by notes 56 to 58.

                                                            17
Case 4:20-cv-00957-SDJ               Document 699-19 Filed 12/09/24                       Page 19 of 33 PageID #:
                                                 35265


         easily be brought to mind, because they are recent, happened close to them, or were
         well publicized, a strategy of very high fines which are rarely imposed may on the
         one hand make sense in that the very high amounts of the fines imposed may give
         them more publicity and thus make them more memorable. On the other hand, a
         sufficient frequency of punishment would seem more efficient, assuming that if a
         company (or the individual decision-maker within the company) knows or knows of
         a company which has been fined for a comparable antitrust violation, this
         information is likely to be available and thus to cause an overestimate of the
         probability of being fined. 64

             The second set of reasons why a strategy of very high fines combined with a low
         probability of detection and punishment may not be optimal, or could at least not be
         carried too far, is that very high fines may be problematic in several respects, in
         particular because they risk exceeding the ceiling of companies' ability to pay,
         because high fines, even if they do not exceed ability to pay, may have substantial
         social and economic costs, and because they may be unacceptable from the
         perspective of proportional justice. 65


        2. The limits to high fines


        a. Inability to pay


             For several types of antitrust violations, it would not appear abnormal for the
         company that is contemplating committing the violation to expect as gain from the
         violation extra profits of 5 % of turnover in the products concerned during 5 years.
         In this example, if only one out of ten such violations is detected and punished, the
         fine required for deterrence would have to exceed 250 % of the annual turnover in
         the products concerned. If only one out of twenty violations is punished, the fine
         would have to exceed 500 % of annual turnover.



   64   R.B. Korobkin and T.S. Ulen, as above note 56, at 1089.

   65   Apart from these three main problems, which are discussed further immediately below, risk-bearing
        cost also argues against increasing fines and lowering probability of punishment; see A.M. Polinsky
        and S. Shavell, 'The Optimal Tradeoff between the Probability and Magnitude of Fines' (1979) 69
        American Economic Review 881, L. Kaplow, 'The Optimal Probability and Magnitude of Fines for
        Acts that Definitely Are Undesirable' (1992) 12 International Review of Law and Economics 3, and
        also M.K. Block and J.G. Sidak, 'The Cost of Antitrust Deterrence: Why Not Hang a Price Fixer Now
        and Then?' (1990) 68 Georgetown law Journal 1131. The question could also be raised whether a
        strategy of very high fines and low probability of punishment would not pose problems for marginal
        deterrence, in that antitrust violators, once they are committing the violation, could no longer be
        deterred from making the violation worse, by expanding its scope, duration or intensity, because they
        would be no possibility left for threatening them with an ever higher fine if they did so. However, this
        concern may not be of much practical importance, as the expansion of the scope, duration or intensity
        would increase the risk of detection and punishment, all the more if one (reasonably) assumes that
        competition authorities will, in selecting which violations to prosecute, give priority to the most serious
        ones; see generally S. Shavell, 'A Note on Marginal Deterrence' (1992) 12 International Review of
        law and Economics 345.

                                                               18
Case 4:20-cv-00957-SDJ                Document 699-19 Filed 12/09/24                        Page 20 of 33 PageID #:
                                                  35266

             Even if the company had retained the extra profits until the fine is imposed,
         these profits would only pay for one tenth or one twentieth respectively of the fine. It
         is more likely that these profits would not have been retained but rather would have
         been paid out in taxes, dividends, salaries and wages. 66 Even liquidating the assets
         of the company concerned will often be unlikely to generate enough revenues to pay
         the fine. Indeed, many companies' annual turnover exceeds their assets. A fine of
         250 % or 500 % of annual turnover in the products concerned by the violation could
         thus only be paid out of the assets of large, diversified companies or companies with
         very high asset-to-sales ratios. 67

             What would thus really happen if one were to adopt a policy of detecting and
         punishing only one out of ten or one out of twenty violations and impose
         correspondingly high fines? If such high fines were really imposed, many of the
         companies concerned would be forced into bankruptcy. This would, however, entail
         undesirable social costs, because, in the absence of perfect markets, it would hurt
         not only managers and shareholders, on whom the bankruptcy may be considered to
         have a desirable deterrent effect, but also all other stake-holders in the firm:
         employees, suppliers, customers, creditors and tax authorities. 68

             Because of the social costs of bankruptcy, the more likely outcome is that the
         high fines will not be imposed, but rather lower ones, corresponding to the firms'
         ability to pay. Indeed, both the European Commission and the US Department of
         Justice do take into account ability to pay when setting the amount of fines. 69 But
         this means that the fines really imposed thus end up being lower than those required
         to deter. 70




   66   G.J. Werden and M.J. Simon, 'Why price fixers should go to prison' (Winter 1987) The Antitrust
        Bulletin 917 at 928 note 35, referring to empirical estimates that unions are able to capture most of the
        monopoly profits earned by US manufacturing firms.

   67   Idem at 928-929.

   68   R.H. Kraakman, 'Corporate Liability Strategies and the Costs of Legal Controls' (1984) 93 The Yale
        Law Journal 857 at 882.

   69   The European Commission's guidelines on the method of setting fines mentions the undertaking's 'real
        ability to pay in a specific social context' as a factor to be taken into account in setting the amount of
        the fine; see Guidelines on the method of setting fines imposed pursuant to Article 15(2) of Regulation
        No. 17 and Article 65(5) of the ECSC Treaty, [1998] OJ C9/3, at para 5(b), and judgment of the EC
        Court of First Instance of 29 April 2004 in Joined Cases T-236/01 Takai Carbon a.o. v Commission,
        not yet published in ECR, accessible at http://curia.eu.int/fr/content/juris/index form.h!m, paragraph
        371. In a number of decisions the Commission appears to have taken into account the undertakings'
        bad financial situation in setting the amount of the fines; for a recent example, see the Decision of 3
        December 2003 in Case COMP/38.359 Electrical and mechanical carbon and graphite products,
        accessible at http://europa.eu.int/comm/competition/antitrust/cases, paras 358 to 360.

   70   It should be noted that even if the social costs of bankruptcy were disregarded and companies were
        penalised into bankruptcy, effective deterrence is not at all guaranteed. Indeed, the firm's inability to
        pay the fine means that its shareholders can externalize part of the fine risk, as their liability is limited
        to their shareholding. The managers' exposure is similarly limited by the ease with which they can find
                                                                 19
Case 4:20-cv-00957-SDJ              Document 699-19 Filed 12/09/24                      Page 21 of 33 PageID #:
                                                35267


        b. The social and economic costs of high fines


              Even if they stay below the level of inability to pay, the imposition of high fines
         is likely to be costly. High fines may have undesirable side-effects. In the absence of
         perfect markets, high fines imposed on companies will have an incidence on all the
         stake-holders in the firm. Bondholders and other creditors will suffer a diminution in
         the value of their securities. Employees may suffer from cost-cutting campaigns
         induced by the need to pay the fine. Tax receipts will be reduced. Finally, consumers
         may end up suffering. Indeed, if the firm competes in a product market characterized
         by imperfect competition (as will often be the case), the fine may be partly
         recovered from consumers in the form of higher prices.7 1

        c. Proportional justice


             A strategy of very high fines combined with a low probability of detection and
         punishment risks being unacceptable in the light of the principle of proportionality
         of penalties. This principle has been restated recently in Article 49(3) of the Charter
         of Fundamental Rights of the European Union, which provides that 'the severity of
         penalties must not be disproportionate to the criminal offence' .72

             The principle of proportionality of penalties reflects the retributive view of
         punishment. Indeed, the utilitarian conception of punishment, which justifies fines
         being set at the level required for optimal deterrence at the lowest cost, competes for
         the allegiance of the legal system with the retributive view of punishment. Under the
         latter view, punishment is not justified by its future consequence of deterring
         harmful conduct, but rather on the ground that it is morally fitting that a person who
         does wrong should suffer in proportion to his wrongdoing. 73 The law generally
         reflects a mixture of both conceptions. This is visible in the EC Court of Justice's
         affirmation that the fines imposed by the European Commission for violations of
         Articles 81 and 82 EC 'have as their object to punish illegal conduct as well as to




        alternative employment. If the probability of detection and punishment is sufficiently low, shareholders
        and managers may thus decide to run the risk of their firm being fined into bankruptcy.

   71   J.C. Coffee, "No Soul to Damn: No Body to Kick': an Unscandalized Inquiry into the Problem of
        Corporate Punishment' (1981) 79 Michigan Law Review 387 at 401-402.

   72   [2000] OJ C 364/1 at 20. The Charter has since been incorporated as Part II in the (signed but not
        ratified) Treaty establishing a Constitution for Europe, [2004] OJ C 310/41. Article 11-109(3) of this
        Treaty is the (identical) equivalent of Article 49(3) of the Charter. See also D. van Zyl Smit and A.
        Ashworth, 'Disproportionate Sentences as Human Rights Violations' (2004) 67 Modern Law Review
        541.

   73   J. Rawls, 'Two Concepts of Rules' (1955) 64 Philosophical Review 3 at 4-5.

                                                              20
Case 4:20-cv-00957-SDJ              Document 699-19 Filed 12/09/24                     Page 22 of 33 PageID #:
                                                35268

        prevent it being repeated' .74 The retributive view imposes a constraint on the pursuit
        of optimal deterrence in the form of the principle of proportionality of penalties. 75

            Respect for the principle of proportionality of penalties may in fact also make
        sense within a utilitarian conception of optimal law enforcement. Indeed, as
        explained above, 76 the imposition of penalties on antitrust violators not only has a
        deterrent effect, in that it helps creating a credible threat of punishment for those
        who would be willing to commit violations on the basis of a profit calculation, but
        also has a moral effect, in that it sends a message to the spontaneously law-abiding,
        reinforcing their moral commitment to the rules. The strength of this moral effect is
        likely to depend on whether the punishment is perceived as just, and in particular
        not disproportional. 77

            If for instance only one antitrust violation out of ten or only one out of twenty is
        detected and punished, the deterrent fine has to exceed the expected gain from the
        violation by a factor of ten or twenty respectively. Such a large multiplication,
        justified not solely by the need to achieve effective deterrence but also by a desire to
        save administrative costs, risks being unacceptable from a proportional justice
        perspective. 78




  74   Judgment of 15 July 1970 in Case 41/69 ACF Chemiefarma [1970] ECR 661 para 173 (author's
       translation of the French 'ant pour but de reprimer des comportements illicites aussi bien que d'en
       prevenir le renouvellement'). Similarly, the Commission has stated that 'the purpose of fines is
       twofold: to impose a pecuniary sanction on the undertaking for the violation and prevent a repetition of
       the offence, and to make the prohibition in the Treaty more effective' (Thirteenth Report on
       Competition Policy 1983 at para 62).

  75   See further H.L.A. Hart, Punishment and Responsibility- Essays in the Philosophy of Law (Clarendon
       1968), J. Adenaes, 'The Morality of Deterrence' (1970) 37 The University of Chicago Law Review
       649. J. S. Parker, 'Criminal Sentencing Policy for Organizations: The Unifying Approach of Optimal
       Penalties' (1989) 26 American Criminal Law Review 513 at 563-566, defends the view that there is no
       real conflict between deterrence and proportionality, because the probability of detection would reflect
       a second dimension of harm directly related to the offender's culpability. By choosing an offence with
       a lower probability of detection, the offender would deserve a higher penalty. Parker's argument
       appears unconvincing to the extent that the low probability of detection results from a policy choice,
       justified by the saving of administrative costs, to adopt an enforcement strategy of high penalties and
       low probability of punishment.

  76   Text accompanied by notes 13 to 14 and 20 to 22.

  77   On the importance of the perception of punishment being just, see T.R. Tyler, as above note 14. See
       further also C.R. Sunstein, D. Schkade and D. Kahneman, 'Do People Want Optimal Deterrence?'
       (2000) 29 Journal of Legal Studies 237, providing empirical evidence that people reject law-
       enforcement policies that increase or decrease penalties because of the probability of detection.

  78   See also E. David, 'La determination du montant des amendes sanctionnant les infractions complexes:
       regime commun ou regime particulier?' (2000) 36 Revue Trimestrielle de Droit europeen 511 at 526-
       527, and J. Waldfogel, 'Criminal Sentences as Endogenous Taxes: Are They 'Just' or 'Efficient'?'
       (1993) 36 Journal of Law and Economics 139.

                                                             21
Case 4:20-cv-00957-SDJ              Document 699-19 Filed 12/09/24                      Page 23 of 33 PageID #:
                                                35269

             The maximum of twice the gross gain as foreseen in the US under the Criminal
         Fines Improvement Act, 79 may reflect the limit of what multiplication is considered
         acceptable from a proportional justice perspective. In the EU, Regulation No 1/2003
         provides that fines imposed by the European Commission cannot exceed 10 % of
         the total (consolidated) turnover of the company concerned in the preceding
         business year. 80 This ceiling appears to reflect more generally concerns with very
         high fines, not only from the perspective of proportional justice but also as to the
         risk of inability to pay, and the social and economic costs of high fines.



        C. Rewarding cooperation and efforts at compliance


             As explained above, antitrust fines should in principle exceed the expected gain
         from the violation multiplied by the inverse of the probability of a fine being
         effectively imposed, but the amount may in some cases have to be limited to a lower
         level because of the economic and social costs of very high fines and because of the
         requirements of proportional justice. The question I now tum to is whether the
         amount of the fine should also be affected by the company's cooperation with the
         competition authority's investigation or by the company's efforts at complying with
         the antitrust prohibitions.


        I. Cooperation with the competition authority's investigation


             When the competition authority investigates an antitrust violation, the extent to
         which the company concerned cooperates with the investigation can make a big
         difference. If the company does not cooperate at all, the competition authority will
         have to use its compulsory powers of investigation to collect the evidence of the
         violation, and will have to go through the entire administrative and judicial
         proceedings to establish the violation, bring it to an end if it is still ongoing, and
         impose the fine. At the other extreme, if the company cooperates fully, it will at the
         outset of the investigation terminate the violation, provide the competition authority
         with all available evidence and admit the violation, thus dispensing with the need to
         go through the entire administrative and judicial proceedings. 81

             Cooperation with the competition authority's investigation can thus in two ways
         be advantageous for antitrust enforcement: First, it reduces the administrative cost as




   79   18 USC.§ 3571(d) (1984) (as amended in 1987).

   80   Article 23(2), second subparagraph, of Regulation No 1/2003, as note 6 above.

   81   On the law and economics of the collection of intelligence and evidence of antitrust violations, see my
        article 'Self-Incrimination in EC Antitrust Enforcement: A Legal and Economic Analysis' (2003) 26
        World Competition 567 and chapter 5 of Principles of European Antitrust Enforcement, as note 4
        above.

                                                             22
Case 4:20-cv-00957-SDJ              Document 699-19 Filed 12/09/24                      Page 24 of 33 PageID #:
                                                35270

         well as the duration of the investigation and prosecution. Secondly, if the violation
         was still ongoing at the outset of the investigation, the cooperation brings the
         violation to an end earlier.

             Both of these effects justify a lowering of the fine. Indeed, the saving of
         administrative cost will allow the competition authority to redeploy the resources
         saved to other investigations, thus increasing the overall probability of detection and
         punishment, and allowing a corresponding lowering of the general level of fines.
         The shortening of the delay between the time of the violation and the time of the
         imposition of the fine reduces the amount of the fine required for deterrence,
         because of the lesser need for interest to cover the delay. 82 The shorter duration of
         the violation itself correspondingly reduces the gain from the violation and thus also
         lowers the required fine. 83

             Lowering the fine because of cooperation is of course only justified if and to the
         extent that the cooperation has the beneficial effects described just above. 84


        2. Compliance programmes


             Should antitrust fines also be reduced to reward companies that put in place or
         have put in place compliance programmes? In the US, a well-designed compliance
         programme may, in some circumstances, help the company qualify for sentence
         mitigation under the sentencing guidelines, so long as the employees who
         committed the violation were not "high-level personnel" of the company. 85 In the




   82   See note 41 above.

   83   Under the internalization approach (see text accompanie by notes 42 to 55 above), a similar result is
        achieved through a different reasoning. Under that approach, the fine should in principle equal the net
        harm to persons other than the offender. One of the components of this harm is the competition
        authority's and the courts' costs of investigating and punishing the violation. A lowering of these costs
        because of cooperation thus automatically lowers the optimal fine. To the extent that the cooperation
        also limits the duration of the violation, the optimal fine will also be correspondingly go down, as the
        harm to consumers will be lower.

   84   See Judgment of the EC Court of Justice of 16 November 2000 in Case C-297/98 P, SCA Holding v
        Commission [2000] ECR 1-10101, paragraph 36, confirming the Judgment of the EC Court of First
        Instance of 14 May 1998 in Case T-327/94: "The Court of First Instance correctly held in that regard,
        in paragraph 156 of the contested judgment, that a reduction in the fine on grounds of cooperation
        during the administrative procedure is justified only if the conduct of the undertaking in question
        enabled the Commission to establish the existence of an infringement more easily and, where relevant,
        to bring it to an end"; see also J.M.Connor, Global Price Fixing: Our Customers are the Enemy
        (Kluwer Academic Publishers, 2001), at 387-389, on the risk of unnecessarily generous concessions.

   85   See 2004 US Federal Sentencing Guidelines Manual (November 1, 2004),              accessible at
        http://www.ussc.gov/2004guid/gl2004.pdf, §§ 8B2.l and 8C2.5; and W.J. Kolasky, 'Antitrust
        Compliance Programs: The Government Perspective', address before the Corporate Compliance 2002
        Conference        (San        Francisco,       12    July       2002),       accessible      at
        http://www.usdoj.gov/atr/public/speeches/11534.pdf.

                                                               23
Case 4:20-cv-00957-SDJ            Document 699-19 Filed 12/09/24                    Page 25 of 33 PageID #:
                                              35271


         EU, "the [European] Commission considers that it is not appropriate to take the
         existence of a compliance programme into account as an attenuating circumstance
         for a cartel infringement, whether committed before or after the introduction of such
         a programme". 86

             If they reflect a genuine commitment to antitrust compliance at the highest levels
         within the company, and are well-designed, compliance programmes can no doubt
         be very useful both to prevent antitrust violations and to detect such violations as
         early as possible.

             It is not obvious, however, that this should translate into reduced fines. If fines
         are set at the level required for deterrence, namely above the expected gain from the
         violation multiplied by the inverse of the probability that a fine will be imposed,
         companies will already have all the necessary incentives to prevent the commitment
         of antitrust violations.

             Moreover, as Stephen Calkins has pointed out: "A company has a wide array of
         ways to increase its compliance with various laws. It can emphasize the quality of its
         people, by hiring honest employees, encouraging them to lead healthy lives, and
         taking care of them in times of need. It can create good incentives, by tying
         compensation to long-term results, by refraining from exerting undue pressure, and
         by paying supra-competitive wages employees will not want to risk losing. It can
         teach and remind. It can monitor and audit. And it can threaten with whatever
         draconian consequences are in its powers [ ... ]. Some companies will be better at one
         approach, some at another, most at some mix; but it would be surprising were the
         same approach right for all. Accordingly, it would seem self-evident that
         government should set out penalties for violating the law and leave it to firms to
         determine how best to respond to those penalties". 87



   III. OPTIMAL FINES FOR COLLECTIVE VIOLATIONS

             Most of the above analysis concerning fines for single offenders applies equally
         to fines for collective antitrust violations such as price-fixing or market-sharing
         cartels. The case of collective violations is however different in some important
         respects.




   86   Decision of 3 December 2003 in Case COMP/E-23/38.359 Electrical and mechanical carbon and
        graphite                         products,                         accessible                     at
        http://europa.eu.int/comm/competition/antitrust/cases/decisions/3 8359/en.pdf; see also Judgments of
        the Court of First Instance of 20 March 2002 in Case T-31/99 ABB Asea Brown Boveri v Commission
        [2002] ECR II-1884, paragraph 221, and of 9 July 2003 in Case T-224/00 Archer Daniels Midland v
        Commission [2003] ECR II-2597, paragraphs 280-281.

   87   S. Calkins, 'Corporate Compliance and the Antitrust Agencies' Bi-Modal Penalties' (1997) 60 Law
        and Contemporary Problems 127, at 147.

                                                            24
Case 4:20-cv-00957-SDJ              Document 699-19 Filed 12/09/24                      Page 26 of 33 PageID #:
                                                35272


        A. Additional possibilities for using fines to prevent violations


             As explained above, in the case of a single offender, the necessary condition for
         deterrence to work is that, from the perspective of the company contemplating
         whether or not to commit a violation, the expected fine (being the nominal amount
         of the fine discounted by the probability that it is effectively imposed) must exceed
         the expected gain from the violation. How should this be transposed to the case of
         collective infringements such as price-fixing or market-sharing cartels? Should this
         condition be fulfilled for each of the offenders? Or for the group of all the offenders
         taken together? It appears that none of the two conditions is necessary, but each is
         sufficient. If for each member of the contemplated cartel, the expected fine exceeds
         the expected gain, the cartel will obviously be deterred. But given that the success of
         the cartel is likely to require the participation of most if not all of the members, it
         may be sufficient for deterrence to work that for some of them the expected fine
         exceeds the expected gain. On the other hand, if for the group of prospective cartel
         members taken together the sum of expected fines exceeds the expected gain, the
         cartel will also be deterred, as it will be impossible to distribute the fine risk and the
         expected gain between the different cartel members in a way which makes
         participation profitable for all of them. But again, deterrence may even work in
         some situations where collectively the excepted gain exceeds the sum of expected
         fines, if for a sufficient number of participants the expected fine exceeds the
         expected gain and the cartel members do not manage to organize the necessary
         transfers between them so as to make participation profitable for all prospective
         participants. Deterrence is thus conceptually more complicated in the case of
         collective violations than in the case of single offenders, but may already be
         effective at lower overall fine levels, if the added complication of the internal
         dynamics of the group of violators is well exploited.


        1. Raising the cost of setting up and running cartels


             Setting up and running a successful cartel takes effort and requires the
         participation of the different cartel members in various respects. A number of tasks
         have to be performed: the agreed price or other factors must be determined; the joint
         profit must be allocated through quotas or otherwise; and measures have to be taken
         to prevent cheating, by developing a sufficiently strong sense of solidarity and
         mutual trust and/or by monitoring and punishing deviations. For all these tasks to be
         carried out, someone has to take the initiative and someone has to do the job:
         someone has to convene the meeting, someone has to make the price or quota
         calculations, someone has to do the monitoring and someone has to do the
         punishing. 88




   88   To some extent these tasks can be outsourced to specialist service providers. Hence the need for the
        activity of such service providers to be covered by the antitrust prohibitions and to be subject to the
        threat of sufficiently deterrent fines; see for example the role of AC Treuhand in the organic peroxides
        cartel, European Commission Decision of 10 December 2003 in Case COMP/E-2/37.857 Organic
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Case 4:20-cv-00957-SDJ              Document 699-19 Filed 12/09/24                      Page 27 of 33 PageID #:
                                                35273

             The setting up and running of cartels can be made more difficult (and hence
         more costly, and cartels thus less profitable, which means they can be deterred at
         lower overall fine levels) by threatening higher fines for those cartel members who
         play active roles in setting up and running the cartel, while offering the perspective
         of reduced fines for those cartel members who are exclusively passive. This makes
         the setting up and functioning of cartels more difficult, because, faced with the
         prospect of higher fines, there will be less volunteers to play active roles. Those who
         nevertheless accept to do so are likely to want compensation in the form of a larger
         part of the gain, which is likely to be difficult to agree on, and to weaken the sense
         of solidarity and mutual trust within the group. 89

             Fines are indeed used in this way in the different antitrust jurisdictions. In the
         EU, for instance, it is well-established in the case law of the EC Court of Justice and
         the EC Court of First Instance and in the practice of the European Commission that
         the role of ringleader or instigator, or the fact of having taken retaliatory measures
         against recalcitrant or deviating cartel members, are taken into account in
         determining the amount of the fine as aggravating circumstances, regularly resulting
         in increases of 50 % for ringleaders, whereas an exclusively passive role is treated as
         an attenuating circumstance. 90


        2. Leniency


             The group dynamics of collective violations can be further exploited through a
         well-designed leniency policy. Following the example of the US Antitrust Division
         Corporate Leniency Policy, 91 the European Commission's leniency notice92
         promises immunity from fines to the cartel member that is the first to provide the
         Commission with evidence allowing the Commission to start a formal investigation
         or to prove the violation of Article 81 EC, for which the Commission did not yet




        Peroxides, accessible at http://europa.eu.int/comm/competition/antitrust/cases/decisions/3 7857 /en.pdf;
        an appeal against this decision is pending before the EC Court of First Instance, Case T-99/04.

   89   See N.K. Katyal, 'Conspiracy Theory' (2003) 112 Yale Law Journal 1307, at 1341-1346 and 1363-
        1367.

   90   See Judgment of the Court of First Instance of 29 April 2004 in Joined Cases T-236/01 a.o., Takai
        Carbon       a.o.      v    Commission,       not   yet   published   in    ECR,      accessible     at
        http://curia.eu.int/fr/content/juris/index form.htm, paragraphs 301 and 311, referring to earlier
        judgments; Commission Guidelines on the method of setting fines, as note 69 above, section 2, third
        and fourth indent, and section 3, first and second indent; Judgment of the Court of First Instance of 9
        July 2003 in Case T-224/00 Archer Daniels Midland v Commission [2003] ECR 11-2597, paragraphs
        238 to 245 and 263 to 267; and J.-F. Bellis, 'La determination des amendes pour infraction au droit
        communautaire de la concurrence - Bilan de cinq annees d'application des lignes directrices de 1998'
        (2003) Cahiers de droit europeen 373 at 382-384.

   91
        As note 39 above.

   92
        Commission notice on immunity from fines and reduction of fines in cartel cases, [2002] OJ C45/3.

                                                              26
Case 4:20-cv-00957-SDJ             Document 699-19 Filed 12/09/24                    Page 28 of 33 PageID #:
                                               35274


         have sufficient evidence, and that continues to cooperate fully with the Commission
         throughout the whole procedure leading to the imposition of fines on the other cartel
         members. The Commission's leniency notice also promises fine reductions to those
         other cartel members who start cooperating later during the procedure and provide
         additional valuable evidence, the percentage of the fine reduction depending on
         whether they are the first to do so (reduction of 30 to 50 %), the second (20 to 30 %)
         or subsequent (up to 20 %).

             As in the case of violations committed by a single offender, cooperation with the
         competition authority's investigation is advantageous for antitrust enforcement in
         that it reduces the administrative cost as well as the duration of the investigation and
         punishment, and may bring the violation to an earlier end, if the violation was still
         ongoing. Leniency moreover makes the setting up and running of cartels more
         difficult in that it fractures trust within the cartel, thus raising the need for costly
         monitoring and reducing the cartel members' willingness to share with each other
         information which could later be used to obtain leniency. 93



        B. Additional aspects to consider



        I. The impact of high fines on the market structure


             Concerning fines for single offenders, it has already been pointed out above94
         that fines which exceed the company's ability to pay would lead to bankrupcy, and
         that, even below the level of inability to pay, the imposition of high fines may entail
         substantial social and economic costs. A dimension is added to this possible
         problem in the case of collective violations for which fines are simultaneously
         imposed on all or most of the companies competing in a given market. ,

             Imagine by way of illustration that a cartel, which has been functioning very
         profitably for many years, is discovered in some local market, on which five
         companies with comparable market shares are active, four of which are not active in
         other markets and have limited financial reserves, whereas the fifth is a subsidiary of
         a large, financially strong, international group. All five companies have been equally
         active in the cartel, and none has cooperated with the competition authority's



   93   See N.K. Katyal, as note 89 above, at 1346-1355 and 1382-1384; S.D. Hammond, 'Cornerstones ofan
        Effective Leniency Program', paper presented at the ICN Workshop on Leniency Programs (Sydney,
        November 2004), accessible at http://www.usdoj.gov/atr/public/speeches/206611.htm; OECD,
        Fighting Hard-Core Cartels: Harm, Effective Sanctions and Leniency Programs (2002), accessible at
        http://www.oecd.org/pdf/M00036000/M00036562.pdf; chapter 3 of The Optimal Enforcement of EC
        Antitrust Law, as note 4 above; chapter 5 of Principles of European Antitrust Enforcement, as note 4
        above; and G. Spagnolo, 'Divide et Impera: Optimal Leniency Programmes', CEPR Discussion Paper
        No. 4840 (December 2004).

   94   Text accompanied by notes 66 to 71.

                                                            27
Case 4:20-cv-00957-SDJ              Document 699-19 Filed 12/09/24                     Page 29 of 33 PageID #:
                                                35275


         investigation. If one were to focus exclusively on deterrence, one would advocate in
         such a case the imposition of high fines on all five cartel participants. The risk,
         however, is that this could lead to the elimination of the four smaller competitors
         and the domination of the market by the fifth, stronger company.

             In a variation on the same example, it could also be that the fifth, stronger
         company is the one which disclosed the existence of the cartel to the competition
         authority, and for that reason qualifies for immunity from fines. 95

             To avoid a deterioration of the market structure as a result of the imposition of
         the fines, one should thus, in all cases where high fines are imposed and where there
         is a significant difference in the ability to pay of the various cartel members,
         differentiate the amount of the fines imposed on the different companies so as to
         reflect their respective ability to pay. This can be done either by reducing the fines
         imposed on the companies with the lower ability to pay, or by imposing generally
         lower fines but then increasing them for the companies with a higher ability to pay.
         In EC fining practice, such differentation is indeed made, through the capping of
         fines at the statutory ceiling of 10 % of overall consolidated turnover of the firms
         concerned, and also through the use of so-called 'multipliers' to increase the fines
         imposed on companies whose size far exceeds that of the other cartel members. 96


        2. Equal treatment


             According to well-established case-law of the EC Court of Justice and Court of
         First Instance, the European Commission, when imposing fines, "is not entitled to
         disregard the principle of equal treatment, a general principle of Community law
         which is infringed [ ... ] where comparable situations are treated differently or
         different situations are treated in the same way, unless such difference is objectively



   95   This was roughly the situation with the Luxembourg beer cartel; see European Commission Decision of
        5 December 2001 in Case COMP/37.800/F3 Luxembourg Brewers, [2002] OJ L253/21, and judgment
        of the EC Court of First Instance of 27 July 2005 in Joined Cases T-49/02 to T-51/02, Brasserie
        nationale      a.o.     v    Commission,      not    yet published     m    ECR,   accessible    at
        http://curia.eu.int/fr/content/juris/index form.htm.

   96   On the 10 % ceiling, see text accompanied by note 80 above; on the 'multipliers', see Judgments of the
        Court of First Instance of 20 March 2002 in Case T-31/99 ABB Asea Brown Boveri v Commission
        [2002] ECR 11-1884, paragraph 162, and of 29 April 2004 in Joined Cases T-236/01 a.o., Tokai
        Carbon       a.a.      v    Commission,       not   yet    published     in    ECR,      accessible   at
        http://curia.eu.int/fr/content/juris/index form.htm, paragraphs 239, 241, 243 and 248, and F. Arbaud,
        'La politique de la Commission en matiere d'amendes antitrust: recents developpements, perspectives
        d'avenir',     EC        Competition     Policy    Newsletter    (Summer      2003),     accessible   at
        http://europa.eu.int/comm/competition/publications/cpn/cpn2003 2.pdf, at 4-5. In the Luxembourg
        Brewers case, as note 95 above, only low fines were imposed (without much explanation). Obviously
        such low fines pose a problem for deterrence. The good solution would have been to send a few
        managers of the Luxembourg brewing companies to prison, which would have allowed strong
        deterrence without causing harm to the structure of the Luxembourg beer market, but this option was
        not available, since prison sanctions are currently not provided for in EC law; see text accompanied by
        note 4 above.

                                                              28
Case 4:20-cv-00957-SDJ               Document 699-19 Filed 12/09/24                     Page 30 of 33 PageID #:
                                                 35276

          justified".97 With respect to collective violations, it is thus necessary to examine
          "the relative gravity of the participation of each [company]". 98

              This requirement of equal justice is a variation on the requirement of
          proportional justice discussed above. 99 Indeed, equal treatment is the "'relative'
          aspect of the test of proportionality". 100 As already argued above, respect for the
          principle of proportionality, including the principle of equal treatment, not only
          reflects the retributive view of punishment, but also makes sense within a utilitarian
          conception of optimal law enforcement, in that the strength of part of the effects of
          punishment is likely to depend on whether the punishment is perceived as just,
          including non-discriminatory. 101

              The principle of equal treatment could be considered not only in the case of
          collective violations, but also in the case of violations committed by a single
          offender, by comparison between several violations. In practice, however, the issue
          of respect for the principle of equal treatment arises primarily in cases of collective
          violations, as the treatment of the different members of the same cartel provides an
          obvious base for comparison. 102

              Whereas the 'absolute' aspect of proportional justice discussed above may
          constitute a real constraint in the determination of the amount of fines, in that it
          excludes fines which exceed by a high multiple the gain derived from the violation
          or the harm caused by it, to compensate for a low probability of detection and
          punishment, 103 my impression is that the need to respect the principle of equal
          treatment when determining the amounts of the fines for a collective violation does
          usually not modify the outcome which one would anyway reach when modulating
          the relative amounts of the fines in function of the more or less active role played by
          the different cartel members, with a view to raising the cost of setting up and




   97 Judgment of the Court of First Instance of 13 December 2001 in Joined Cases T-45/98 and T-47/98,
         Krupp Thyssen Stainless and Acciai Speciali Terni v Commission [2001] ECR 11-3765, paragarph 237.

   98 Judgment of the Court of Justice of 8 July 1999 in Case C-51/92 P, Hercules Chemicals v Commission
         [1999] ECR 1-4235, paragraph 110.

   99 Text accompanied by notes 72 to 80.

   IOO   See Opinion of Advocate-General A. Tizzano of 8 July 2004 in Case C-189/02 P Dansk Rorindustri v
         Commission, not yet published in ECR, accessible at http://curia.eu.int/fr/content/juris/index form.htm,
         paragraphs 107 to 109.

   IOI   See text accompanied by notes 77 and 78 above.

   102   See also the Opinion of Advocate-General A. Tizzano, as note 100 above, paragraph 108.

   103   See text accompnied by notes 65 to 80 above.


                                                               29
Case 4:20-cv-00957-SDJ                Document 699-19 Filed 12/09/24                       Page 31 of 33 PageID #:
                                                  35277

          running cartels, 104 and in function of the relative ability to pay of the different
          companies, with a view to avoiding a detrimental impact on the market structure. 105



   IV. CAN THE OPTIMAL FINE BE CALCULATED IN
             PRACTICE?

              Would it be possible in practice for a competition authority or a court, with the
          help of the best experts trained in econometrics, to measure or estimate reliably the
          optimal fine for a given antitrust violation on the basis of the theory explained
          above?

              Consider first an offence committed by a single offender, for instance the abuses
          of a dominant position committed by Microsoft in that it refused to supply
          interoperability information and allow its use for the purpose of developing and
          distributing work group server operating system products, and made the availability
          of the Windows Client PC Operating System conditional on the simultaneous
          acquisition of Windows Media Player. 106 According to the theory, in this relatively
          simple case, where there is no issue of rewarding cooperation with the investigation
          nor of limiting the amount of the fine because of inability to pay, the fine should be
          set as exceeding the gain which Microsoft expected, at the time it decided to commit
          the violation, to obtain from the violation, multiplied by the inverse of what
          Microsoft at that time expected to be the probability that a fine would be imposed. If
          Microsoft had itself quantified its estimates at the time, and these calculations had
          been discovered in the investigation, these could be used. Otherwise it does not
          appear possible to measure this econometrically.




   104   See text accompanied by notes 88 to 90 above.

   105   See text accompanied by notes 94 to 96 above. As to leniency, the granting of immunity and reductions
         of fines strictly on the basis of the timing of the cooperation (immunity only for the first; diminishing
         reductions for the second, third and following) is not contrary to the principle of equal treatment, as all
         cartel members have equal chances to be the first depending on their own initiative, and as this practice
         is in any event objectively justified in order to create a race to cooperate and thus fracture the trust
         within the cartel. The competition authority would however violate the principle of equal treatment if it
         somehow interfered with the race to be the first, thus altering the time ranking from what it would have
         been if based only on the own initiative of the cooperating companies; see judgement of the Court of
         First Instance of 13 December 2001 in Joined Cases T-45/98 and T-47/98, Krupp Thyssen Stainless
         and Acciai Speciali Terni v Commission [2001] ECR II-3765, paragraphs 237 to 249.

   106   See Decision of the European Commission of 24 March 2004 in Case COMP/C-3/37.792 Microsoft,
         accessible at http://europa.eu.int/comm/competition/antitrust/cases/decisions/3 7792/en.pdf, and Order
         of the President of the EC Court of First Instance of 22 December 2004 in Case T-201/04 R Microsoft
         v        Commission,           not        yet      published    in       ECR,        accessible     at
         http://curia.eu.int/fr/content/j uris/index form.htrn.

                                                                30
Case 4:20-cv-00957-SDJ               Document 699-19 Filed 12/09/24                    Page 32 of 33 PageID #:
                                                 35278

              The task would not be any easier if one adopted the internalization approach
          rather than the deterrence approach. 107 Indeed, under the internalization approach,
          the optimal fine would be equal to the net harm caused by the violation to all
          persons other than Microsoft (or rather Microsoft's subjective estimate of this at the
          time it decided to commit the infringement), again multiplied by the inverse of what
          Microsoft, at the time it decided to commit the violation, expected to be the
          probability that a fine would be imposed. The main component of this net harm is
          the consumer welfare forgone as a result of the innovation which was blocked by
          Microsoft's violation. It would not seem less difficult to measure this
          econometrically.

              One might argue that it would be easier to calculate the optimal fine for other
          types of violations, for example price cartels. 108 Unfortunately this does not appear
          to be the case. It may be true that for a price cartel it is not impossible (though no
          doubt difficult and thus costly) to provide reliable estimates of the harm caused by
          the cartel, or the gain for all the cartel members taken together, but this is not the
          theoretically correct measure. Indeed, not the actual harm or the actual gain is the
          relevant measure, but the subjectively expected harm or gain, discounted by the
          subjectively expected probability that a fine would be imposed. Moreover, the fine
          thus calculated would only be the correct measure if one could assume that the
          collectivity of all cartel members could be assimilated to a single decision-maker
          with a single, undivided self-interest, which is manifestly not a realistic assumption.
          As explained above, cartels are the result of a dynamic interaction between different
          self-interested cartel members, and there is, even at the level of theory, no single
          formula of what fines for the different cartel members are optimal to deter the
          cartel. 109 Regard should be had to the economics and psychology of setting up and
          running cartels, and fines should correspondingly be modulated in particular so as to
          discourage companies from playing an active role in the setting up and running of
          the cartel. 110 There is again no way to measure all this econometrically.

              Even if it thus appears unfeasible in practice to measure econometrically the
          theoretically optimal fine for a given antitrust violation, the theory on optimal fines
          certainly remains useful as general guidance for the practice of fixing the amount of
          antitrust fines.

              In some cases, it may happen that at least part of the factors which determine the
          theoretically optimal fine, or some reasonably close proxy, can in fact be measured.
          When such information is available, it should of course be taken into account in
          fixing the amount of the fine. One should however beware of the risk of giving
          excessive weight to whatever factor happens to be measurable, while ignoring other



   107   See text accompnied by notes 42 to 55 above.

   IOS   See K.N. Hylton, as note 44 above, at 47.

   109   See above, following the heading 'Optimal fines for collective violations'.

   1IO See above, text accompanied by notes 88 to 90.


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Case 4:20-cv-00957-SDJ               Document 699-19 Filed 12/09/24                       Page 33 of 33 PageID #:
                                                 35279


          equally relevant, but less measurable factors. A clear example of this risk is the one
          decision in the past 40 years in which the European Commission was able to
          measure exactly the profit derived from the antitrust violation, and then imposed this
          exact figure as the fine, thus disregarding completely the need to take into account
          the less than certain probability of detection and punishment. 111

              One should in my view also avoid any system in which the fixing of the amount
          of the fine is based upon the quantification of the gain obtained by the offender or
          the harm caused by the antitrust violation. In such a system, the burden of proof will
          always be on the competition authority or prosecutor. 112 Given the inherent
          difficulty in measuring these quantities, and thus also in proving them to the
          requisite legal standard, and given also the informational disadvantage which the
          authority or prosecutor is likely to have in this regard as compared to the defendant
          companies, what can be proven is likely to be systematically below reality, with too
          low fines and hence underdeterrence as a result. 113 Even assuming that account will
          also be taken of the probability of detection and punishment, fixing the amount of
          the fine on the basis of ex post values of the gain or harm and probability of
          punishment are also likely to lead to underdeterrence because, as explained above,
          prospective antitrust violators are likely to overestimate the gain and underestimate
          the probability of detection and punishment, as well as the harm. 114




   111   Commission Decision of 25 March 1992 in Case IV/30.717-A, Eurocheque: Helsinki Agreement,
         [1992] OJ L95/5.

   112   In the EU, according to well-established case-law, the European Commission is not obliged to prove
         any actual impact on the market in order to be able to impose the necessary fines for antitrust violations
         such as price cartels which are anti-competitive by object, but if it chooses to refer to such effects in
         setting the amount of the fine, it must prove what it claims; see judgments of the Court of First Instance
         of 15 March 2000 in Joined Cases T-25/95 a.o., Cimenteries CBR and Others v Commission [2000]
         ECR 11-1570, paragraphs 4862-4863; of 19 March 2003 in Case T-213/00, CMA CGM and Others v
         Commission [2003] ECR 11-913, paragraph 280; and of 9 July 2003 in Case T-224/00 Archer Daniels
         Midland v Commission [2003] ECR 11-2597, paragraphs 148-171. Similarly, the Commission is not
         required, in order to determine fines, to establish that the infringement brought an unlawful advantage
         for the undertakings concerned, but if it chooses to refer to such gain in setting the amount of the fine,
         it must prove what it claims; see judgments in Joined Cases T-25/95 a.o., paragraphs 4881-4882; and
         in Case T-213/00, paragraphs 340-343.

   113   See also J. Davidow, 'Recent US Antitrust Developments oflntemational Relevance' (2004) 27 World
         Competition 407, at 412, commenting at the increase in the US of the maximum antitrust fine from $10
         million to $100 million by the Antitrust Criminal Penalty Enhancement and Reform Act of 2003: "At
         first glance, it is difficult to see why the enforcers need higher fines, since they have imposed fines of
         up to $500 million already, by using a "double the damage" approach already set out in US law. Fines
         such as those, however, were negotiated. Litigation to prove such large figures would be expensive and
         uncertain of being sustained, so the enforcers wish to obtain authority to set a high fine based on
         discretion or generalised standards."

   114   See text accompanied by notes 59 to 61 above on overconfidence bias.


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